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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                     )
VERNON ROSS and DEBRA JOSEY,                         )
individually and on behalf of a class of             )
similarly situated African American employees,       )      NO. 1:16-cv-02508-KBJ
                                                     )      CLASS ACTION
       Plaintiffs,                                   )
v.                                                   )
                                                     )
LOCKHEED MARTIN CORP.,                               )
                                                     )
       Defendant.                                    )
                                                     )

                                  JOINT STATUS REPORT

       Plaintiffs Vernon Ross and Debra Josey (“Plaintiffs”) and Defendant Lockheed Martin

Corporation (“Defendant”), by their undersigned counsel, submit this Joint Status Report as

directed by the Court’s Minute Order of December 2, 2020. As described in the parties’ Joint

Motion to Stay Case Proceedings (Dkt. 68), the parties have been engaged in settlement

discussions aimed at resolving this matter. The parties have reached an agreement in principle and

are in the process of negotiating the final terms of the resolution and drafting the settlement

agreements, which they anticipate finalizing in January 2021. The parties respectfully request that

the matter remain stayed during this time.
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Dated: December 23, 2020




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